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lN THE UN|TED STATES D|STR|CT COURT
FOR THE
MIDDLE D|STR|CT OF PENN_SYLVAN|A

 

 

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ARNoLD J. HARRls

Plaintifr SCRANTON

FEB 20 2018 Civil Action No
V. ‘
- PER mo 1:15-cv-1141

J.A. EcKARo, suPERlNTENoENT, et al., DEPUTY CLERK

Defendant

(llllagistrate Judge Saporito)

 

PLAlNTlFF HARR|S' MOT|ON FOR RECONS|DERAT|ON OF MAG|STRATE JUDGE
SAPOR|TO’S DEC|S|ON TO D|RECT THE CLERK OF COURT TO CLOSE MY CASE

 

MATER|AL FACTS

ln the case of Harris v. Eckardl et al.l it was recommended that the Clerk of Court
adopt the Report and Recommendation (Doc. No. 65) of Magistrate Judge Saporito
and direct the Clerk of Court to close my case. lt was also recommended that the Clerk
of Court enter judgment in favor of the Defendants, and against Plaintiff Harris.

Just because Plar'ntiff Harris has made one (1) small en'or, by not claiming monetary
damages on his initial grievance, he should not be penalized by having his case dismissed.
The Court didn’t even explain to Plaintiff Harris, if his case was dismissed, with or without
prejudice, giving the P|aintiff the legal right to appeal his case, or re-ti|e his grievance,
and this time, exhaust his administrative remedies correctly by the claiming of monetary
damages. _ 1

The Plaintifl"s Constitutional Rights were still violatedl by Plar'ntiff Ham's being
permanently damaged by environmental tobacco smoke, and being diagnosed with
C.O.P.D., Asthma, Hypertension and Shortness of Breath.

Plaintiff Ham's prays that the Court will reconsider its decision to close this case,
and not penalize the Plaintiff for making the error of not ciaiming monetary damages on

his initial grievance.

 

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Plaintiff Harris asks this Court to relieve him of Magr'strate Judge Saporl'to’s R_eporl
and Recommendation, and to relieve him of Magistrate Judge Saporr‘to's decision. Also,
if the Court adopts the Report and Recommendation to close this case, is this case
dismissed with prejudicel or without prejudice

The Plaintiff has a legal right to appeal if applicable to do so, or refile his complaint
with the Courtl but needs to do so in a timely manner, and needs the decision of the Court
as to how this case was dismissed, or closed, with or without prejudice.

Thank you for your time and have a bless day.

Sincerely Yours,

Amo|d Joseph Harris (P|aintiff)

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